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February 9, 2022

VIA ECF

 The Honorable Paul A. Engelmayer
 United States District Court
 Southern District of New York
 40 Foley Square, Room 2201
 New York, NY 10007


Re:   Black v. Ganieva, et al., No. 1:21-cv-08824 (PAE)


Dear Judge Engelmayer:

       I write on behalf of Plaintiff Leon Black to submit a letter, attached as Exhibit
A, from Quinn Emmanuel Urquhart & Sullivan, LLP, former counsel to Mr. Black in
this matter, regarding Defendant Wigdor LLP’s Reply Memorandum (ECF No. 55)
and the accompanying Declaration of Max Gershenoff (ECF No. 56).
Thank you for your attention to this matter.
Respectfully submitted,
/s/ Susan Estrich
Susan Estrich
Counsel for Plaintiff


Cc: All Counsel of Record (by ECF)
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